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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                           Case No. 5:12cr3-MW/CJK-4

JAMES HARDESTY MOORE,

          Defendant.
___________________________/

                    ORDER ACCEPTING AND ADOPTING
                     REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 410. Upon consideration, no objections having

been filed by the parties,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as this Court’s

opinion. Defendant’s motion to withdraw his motion, ECF No. 408, is GRANTED,

and the motion to vacate, set aside or correct sentence, ECF No. 400, is DISMISSED

without prejudice. The Clerk shall close the file.

       SO ORDERED on November 7, 2016.

                                      s/Mark E. Walker
                                      United States District Judge
